   Case 2:22-cv-08094-GW-PLA Document 29 Filed 04/07/23 Page 1 of 1 Page ID #:98


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 22-8094-GW-PLAx                                            Date      April 7, 2023
 Title             GS Holistic, LLC v. Huntington Smoke Corp., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                IN CHAMBERS - ORDER TO SHOW CAUSE RE SETTLEMENT


On April 6, 2023, Plaintiff GS Holistic, LLC filed a Notice of Settlement. The Court hereby vacates all
currently set dates, with the expectation that a dismissal will be filed within 30 days. The Court now sets
an order to show re: settlement hearing for May 11, 2023 at 8:30 a.m. The hearing will be vacated
provided a notice of dismissal is filed by noon May 10, 2023.




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                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                     Page 1 of 1
